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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

ANNETTE PADGETT,                               )
                                               )
                           Plaintiff,          )
                                               )
                      v.                       )     No. 1:21-cv-00196-JMS-DLP
                                               )
ANONYMOUS, DNP, APRN-BC,                       )
ANONYMOUS, MSW,                                )
ANONYMOUS INTERN,                              )
ANONYMOUS SERVICES CORP.,                      )
UNITED STATES OF AMERICA,                      )
                                               )
                           Defendants.         )


   ORDER SETTING TELEPHONIC INITIAL PRETRIAL CONFERENCE

       The above case is hereby assigned for a TELEPHONIC INITIAL

PRETRIAL CONFERENCE on March 11, 2021, at 1:30 p.m. (EST), before the

Honorable Doris L. Pryor, United States Magistrate Judge. The information needed

to participate in this telephonic conference will be provided by a separate

notification.

Rule 26(f) conference

   •   An IPTC is not a substitute for the conference required by Fed. R. Civ. P.
       26(f). In addition to and in advance of their submission of proposed case
       management plan (see below), counsel must confer and plan for discovery as
       required by Fed. R. Civ. P. 26(f)(2) and (3).

   •   The court will not require adherence to the conference timing provisions of
       Fed. R. Civ. P. 26(f)(1), so long as the conference is completed in addition to
       and in advance of submission of the proposed case management plan.




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   •   Submission of a written report of the Rule 26(f) conference, as provided by
       section (f)(2), is not required, but counsel should expect to provide an oral
       report at the IPTC.



Proposed case management plan (“CMP”)

   •   No fewer than seven (7) days before the IPTC, counsel must file a Proposed
       CMP.

   •   The general format for the CMP is provided by the court’s uniform CMP,
       which can be found on the court’s website, www.insd.uscourts.gov/case-
       management-plans.

   •   The court encourages counsel to consider whether there are good reasons to
       depart from particular provisions of the uniform CMP and to frame a CMP
       appropriate for the case at hand.

   •   With regard to the discovery of electronically-stored information (“ESI”),
       every CMP must include, at a minimum, (1) a statement of the format in
       which ESI will be produced (including whether the production will include
       metadata), (2) a description of any other ESI issues the parties believe may
       be relevant to discovery in the case, and (3) a claw back provision.

Other matters for counsel to address with specificity at the IPTC

   •   All factual and legal matters pertinent to claims, defenses, and damages.

   •   The nature and scope of discovery, including any particular issues counsel
       anticipate.

   •   Settlement, including identification of discovery necessary for parties to
       evaluate the case for settlement purposes.

   •   When a substantial volume of ESI is expected, detailed consideration of
       related issues, including types, sources, preservation, accessibility, plan for
       collection, search protocol, management software, costs, and sequencing.

   •   Whether and how many expert witnesses will likely be used.

   •   The need for a stipulated protective order.

SO ORDERED.

       Date 2/24/2021
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Distribution:

All ECF-registered counsel of record via email




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